      Case 2:16-md-02740-JTM-MBN Document 11803 Filed 01/12/21 Page 1 of 5




                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                      )     MDL No. 16-2740
PRODUCTS LIABILITY                               )
LITIGATION                                       )     SECTION: “H” (5)
                                                 )
This document relates to:                        )
Elizabeth Kahn, 16-17039                         )

                               ORDER AND REASONS

         Before the Court is Plaintiff’s Motion to Exclude and/or Limit Testimony
of Dr. Carl Kardinal and Dr. Zoe Larned (Doc. 10921). The Court held oral
argument on the Motion on October 6, 2020. For the following reasons, the
Motion is GRANTED IN PART and DENIED IN PART.


                                    BACKGROUND

         Plaintiffs in this multidistrict litigation (“MDL”) are suing several
pharmaceutical        companies      that   manufactured      and/or   distributed   a
chemotherapy drug, Taxotere or docetaxel, 1 that Plaintiffs were administered
for the treatment of breast cancer or other forms of cancer. Among these
companies are Defendants sanofi-aventis U.S. LLC and Sanofi U.S. Services
Inc. (collectively, “Sanofi” or “Defendants”). Plaintiffs allege that the drug
caused permanent alopecia—in other words, permanent hair loss. Plaintiffs
bring claims of failure to warn, negligent misrepresentation, fraudulent
misrepresentation, and more. The first bellwether trial was held in September
2019, and the second trial is set for May 24, 2021. 2
         In the instant Motion, Plaintiff Elizabeth Kahn, the second bellwether
plaintiff, moves to exclude or limit testimony from Dr. Carl Kardinal and Dr.

1   Docetaxel is the generic version of Taxotere.
2   The second trial was continued due to the COVID-19 pandemic.
    Case 2:16-md-02740-JTM-MBN Document 11803 Filed 01/12/21 Page 2 of 5




Zoe Larned. These doctors were Plaintiff Kahn’s treating physicians. Plaintiff
argues that Sanofi did not provide the required expert disclosures for these
doctors, yet Sanofi seeks to elicit testimony from the doctors that qualifies as
expert testimony. Sanofi opposes the Motion.


                                 LEGAL STANDARD

       Under Federal Rule of Civil Procedure 26(a)(2)(A), a party must disclose
to the other parties the identity of any witness it may use at trial to present
expert testimony. 3 If the witness is one retained or specially employed to
provide expert testimony in the case, then the disclosure must be accompanied
by a written report. 4 Before 2010, treating physicians were traditionally
exempt from Rule 26’s written report requirement. 5 In 2010, however, Rule
26(a)(2)(C) was added to require summary disclosures for expert testimony by
witnesses not required to produce expert reports under 26(a)(2)(B). 6 A
summary disclosure must state (1) “the subject matter on which the witness is
expected to present evidence under Federal Rule of Evidence 702, 703, or 705,”
and (2) “a summary of the facts and opinions to which the witness is expected
to testify.” 7 Treating physicians are specifically discussed in the 2010 Advisory
Committee Notes pertaining to Rule 26(a)(2)(C) as being one of the categories
of expert witnesses that the new amendment was intended to address. 8 A




3FED . R. CIV. P. 26(a)(2)(A); Perdomo v. United States, No. 11–2374, 2012 WL 2138106, at *1
  (E.D. La. June 11, 2012).
4 FED . R. CIV. P. 26(a)(2)(B).
5 Perdomo, 2012 WL 2138106, at *1 (collecting cases).
6 Id.
7 FED . R. CIV. P. 26(a)(2)(C); LaShip, LLC v. Hayward Banker, Inc., 296 F.R.D. 475, 481 (E.D.

  La. 2013).
8 Perdomo, 2012 WL 2138106, at *1 (collecting cases).


                                              2
     Case 2:16-md-02740-JTM-MBN Document 11803 Filed 01/12/21 Page 3 of 5




treating physician need not produce a summary disclosure, however, if his
opinions are limited to those that were formed during the course of treatment. 9



                                LAW AND ANALYSIS

    I.   Dr. Kardinal’s Opinion on the Neurotoxicity of Taxol
         Plaintiff takes issue with testimony from Dr. Kardinal stating that Taxol
is more neurotoxic than Taxotere. Plaintiff argues that this opinion involves
specialized knowledge and should be excluded since Sanofi did not properly
disclose the opinion. In response, Sanofi avers that because Dr. Kardinal
treated Plaintiff, his weighing of the risks and benefits of certain treatments
is fact testimony and is essential for the jury.
         In the first bellwether trial, the Court held that to find proximate
causation, the jury will have to find that a treating physician would have
changed his prescribing decision if he had known that Taxotere carried a risk
of permanent alopecia. 10 The jury, then, will have to consider how Dr. Kardinal
and Plaintiff Kahn would have weighed the risks and benefits of her treatment
options. The Court, therefore, will allow Dr. Kardinal to offer testimony that
falls “within a permissive core on issues pertaining to treatment.” 11
         At his deposition, Dr. Kardinal testified that “there appeared to be less
neurotoxicity with docetaxel than there was with paclitaxel which was one of
the reasons I tended to use docetaxel in preference to paclitaxel.” 12 He further


9 See LaShip, LLC, 296 F.R.D. at 481, 482. See also Robert v. Maurice, No. 18-CV-11632,
  2020 WL 5046487, at *4 (E.D. La. Aug. 26, 2020) (“[O]nly proposed expert testimony must
  be disclosed under Rule 26(a)(2)(C), and a treating physician may testify as a fact witness
  without making such a disclosure.”).
10 Doc. 8201.
11 LaShip, LLC, at 481 (quoting Fielden v. CSX Transpo., Inc., 482 F.3d 866, 871 (6th

   Cir.2007)).
12 Doc. 10921-3 at 9.


                                             3
      Case 2:16-md-02740-JTM-MBN Document 11803 Filed 01/12/21 Page 4 of 5




testified that “[n]eurotoxicity with paclitaxel was a big concern.” 13 To the
extent, then, that Dr. Kardinal was concerned about the neurotoxicity of
paclitaxel when he chose a treatment regimen for Plaintiff Kahn in 2008, the
Court will permit him to testify about this. The Court cautions, however, that
his testimony must relate specifically to his treatment of Plaintiff Kahn. The
Court will not permit him to offer general testimony about the neurotoxicity of
paclitaxel, and the Court will not permit him to offer any opinions about
paclitaxel that he formed after he treated Plaintiff Kahn.

     II. Dr. Larned’s Opinions on Causes of Hair Loss
        Plaintiff next takes issue with Dr. Larned’s testimony regarding whether
Plaintiff’s menopause or her use of another drug (Tamoxifen) contributed to
her hair loss. Plaintiff argues that testimony on the potential causes of
Plaintiff’s hair loss and testimony on the rates of permanent hair loss
associated with other drugs and medical conditions is expert testimony
requiring a summary disclosure under Rule 26(a)(2)(C).
        The Court will not allow Sanofi to elicit testimony from Dr. Larned about
the potential causes of Plaintiff Kahn’s hair loss. Sanofi points to no evidence
showing that Dr. Larned discussed Plaintiff’s hair loss with her or attempted
to treat it. 14 Also, Dr. Larned conceded that she is not qualified to give expert
testimony on diagnosing the cause of persistent alopecia or hair loss. 15 Any
testimony about the cause of Kahn’s hair loss, then, goes beyond the realm of
fact testimony relating to Dr. Larned’s treatment of Plaintiff, and it ventures




13 Id.
14 The Court notes that regarding MDL Plaintiff Cynthia Thibodeaux, Dr. Larned specifically
   testified that she never discussed the cause of Thibodeaux’s hair loss with her.
15 Doc. 10921-4 at 6.


                                            4
      Case 2:16-md-02740-JTM-MBN Document 11803 Filed 01/12/21 Page 5 of 5




into expert testimony. 16 Because Sanofi did not provide a summary disclosure,
Sanofi cannot elicit such testimony.
         Additionally, the Court will limit Dr. Larned’s testimony about the rates
of permanent hair loss associated with other chemotherapy drugs. Her
testimony must relate to her specific care of Plaintiff Kahn. Dr. Larned,
therefore, can testify about the drugs she recommended, and she can answer
questions about whether she was aware of reports of persistent hair loss
associated with these drugs. She may not, however, discuss any drugs that she
did not consider for Plaintiff Kahn.


                                      CONCLUSION

         For the foregoing reasons, Plaintiff’s Motion to Exclude and/or Limit
Testimony of Dr. Carl Kardinal and Dr. Zoe Larned (Doc. 10921) is GRANTED
IN PART and DENIED IN PART. The Court will limit the testimony of Dr.
Kardinal and Dr. Larned as described in this opinion.
         New Orleans, Louisiana, this 12th day of January, 2021.




                                                JANE TRICHE MILAZZO
                                                UNITED STATES DISTRICT JUDGE




16   See Warren v. Mallory, No. 18-11613, 2020 WL 4260448, at *3 (E.D. La. July 24, 2020)
     (“[T]estimony as to causation . . . has been considered the province of expert testimony
     subject to the requirements of section (a)(2)(B).”).
                                                 5
